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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

SHARRON CHRISTIAN,
                                                     Case No. 1:12-cv-1103
              Plaintiff,
                                                     HON. GORDON J. QUIST
v.

ENHANCED RECOVERY
COMPANY, LLC,

            Defendant.
______________________________/

                                       Notice of Dismissal

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff files this

Notice of Dismissal, with prejudice, with Defendant having served neither an answer nor a

motion for summary judgment.

Dated: October 25, 2012                              /s/ Phillip C. Rogers
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